










Opinion issued August 26, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00549–CV




ARELI PIMENTEL, Appellant

V.

CHRISTIAAN WEBB, M.D., Appellee




On Appeal from the 164th District Court
Harris County, Texas
Trial Court Cause No. 2003-12431




MEMORANDUM OPINIONAppellant Areli Pimentel has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Areli Pimentel did not adequately respond.  See Tex.
R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Bland.


